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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                    )
                                             )
               Plaintiff,                    )       INTERSTATE AGREEMENT ON
                                             )       DETAINERS ORDER
       vs.                                   )
                                             )       Case No. 1:07-cr-085-03
Bret Keeney,                                 )
                                             )
               Defendant.                    )


       On October 22, 2008, the defendant appeared for his initial appearance and arraignment.

Appearing on behalf of the United States was Attorney Paul Emerson. Appearing for the defendant

was his court-appointed counsel, attorney Timothy Purdon.

       Prior to his initial appearance, the defendant was incarcerated by the State of North Dakota

at the North Dakota State Penitentiary in Bismarck, North Dakota. After the Indictment in this case

was returned and an arrest warrant issued, a detainer was filed by the United States with North

Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act (“IADA”), the

defendant’s appearance before this court for his initial appearance and arraignment was secured by

a writ of habeas corpus ad prosequendum.

       During the hearing, the defendant’s rights under the IADA to continued federal custody until

the charges set forth in the Indictment are adjudicated were explained to him. The defendant

knowingly, voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the

IADA and stipulated to his continued housing by the State of North Dakota (the “sending state”

under the IADA) at the North Dakota State Penitentiary pending trial of the charges on the

Indictment by the United States (the “receiving state” under the IADA). The United States

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concurred in this stipulation. Defendant also knowingly, voluntarily, and upon advice of counsel

waived any speedy trial limitations that might apply to this case including those under the IADA.

        The court adopts the parties’ Interstate Agreement on Detainers Anti-Shuttling Waiver

Stipulation (Docket No. 33) and HEREBY ORDERS that the defendant be housed in the “sending

state” under the IADA, at the North Dakota State Penitentiary in Bismarck, North Dakota, pending

trial of this matter or until further order of the court. Further, pursuant to the defendant’s waiver and

stipulation, the return of the defendant to his place of incarceration pending trial shall not be grounds

under the IADA for dismissal of the charges set forth in the Indictment.

        Dated this 22nd day of October, 2007.



                                                        /s/ Charles S. Miller, Jr.
                                                        Charles S. Miller, Jr.
                                                        United States Magistrate Judge




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